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IN THE UNITED sTATEs DISTRICT COURT 05 APR 13 pH 2, ,‘9
FOR THE WESTERN DISTRICT oF TENNESSEE m § h
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t n vU.S DIST.
W.D. =JF "»\-.< ~JACKSO§}I

RICKEY D. FOSTER, et al.,

CHARLOTTE GRIFFIN HAMILTON, )
Individually and as parent and next )
friend of MARGARET GRIFFIN, a )
minor, and JEREMIAH HAMILTON, )
a minor, )
)
Plaintiffs, )
)

VS. ) No. 04-1201-T-An
)
)
)
)

Defendants.

 

ORDER DENYING DEFENDANT’S MOTION TO RECONSIDER
ORDER DENYING MOTION TO DISMISS AND
GRANTING MOTION FOR ADDITIONAL TIME TO SERVE DEFENDANT

 

Plaintiffs filed this action in the Circuit Court of Madison County, Tennessee.
Defendant Jeremy Walker removed the action to this court, With jurisdiction predicated on
diversity of citizenship, 28 U.S.C. § 1332. On March 8, 2005, Defendant Rickey D. Foster
moved the court to dismiss the action as to him on the ground of insufficiency of service of
process. Plaintiffs responded to the motion on April 4, 2005, and also filed a motion for
additional time in Which to effectuate service of process. On April 8, 2005, the court denied

Defendant’s motion and granted Plaintiffs’ motion.

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Defendant Foster has now filed a motion, asking the court to reconsider its previous
order on the ground that he was not allowed the time prescribed by the Local Rules of this
court in which to file a response to Plaintiffs’ motion. Defendant also argues that Plaintiffs’
attempt to serve him with process is still insufficient Defendant’s motion is DENIED for
the following reasonsl

Defendant is correct that Local Rule 7 .2 allowed him fifteen days in which to respond
to Plaintiffs’ motion. However, Plaintiffs’ response to Defendant’ s motion to dismiss
outlined the efforts that had been made to serve Defendant and asked for the same relief as
that stated in Plaintiffs’ motion. Thus, the order denying Defendant’s motion to dismiss
would have granted Plaintiffs an extension of time in which to effectuate service of process
even without Plaintiffs’ motion. Consequently, Defendant was not prejudiced by the court’s
ruling on the motion without allowing him time to tile a response

Defendant’ s argument that Plaintiffs have still not served him properly is not relevant
to whether Plaintiffs should have been granted an extension of time in which to effectuate

service of process.

 

1 Motions to reconsider are not favored. E Q_i_rec_TV,_I_r_i_ch, 2004 WL 1490437 (N.D. Ohio) (“Motions
for reconsideration are disfavored generally; I disfavor them strongly.") Accord Bally Export Cogp. v. Balicar, Ltd.,
804 F.2d 398 (7"' Cir.1986); General Elec. Co. v. United States, 189 Ct. Cl. 116, 416 F.2d 1320 (1969); U.S. v.
Cohen, 222 F.R.D. 652 (W.D. Wash. 2004); Miller v. Norfolk Southem Rwy. Co., 208 F. Supp.2d 851 (N.D. Ohio
2002).

 

 

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Accordingly, Defendant’s motion to reconsider is DENIED,

IT IS SO ORDERED.

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JA S D. TODD
UNITED STATES DISTRICT .TUDGE

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DISTRICT COURT- l WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 16 in
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Honorable J ames Todd
US DISTRICT COURT

